Case 2:05-cr-20lO4-.]PI\/| Document 27 Filed 06/07/05 Page 1 of 2 Page|D 22

 

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IN THE UNITED sTATEs DISTRICT COURT
FOR THE WESTERN DISTRICT or TENNESSEE 95 JU.N _-] pH ?; he
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UNITED srATEs oF AMERICA, l " ' " ’ ‘ ¥" H'S
Plaintiff,
vs. Cr. No. 05-20104-D
AMBRosE oDUNZE,
Defendant.

 

ORDER GRANTING DEFENDANT'S MOTION TO WAIVE
APPEARANCE AT REPORT DATE

 

For good cause shown, and without objection from the government, defendant’s request to
waive his appearance at the report date set in this case for Thursday, July 21, 2005 at 9:00 a.m. is
hereby GRANTED. Defendant shall not be required to appear at the above report date, and shall
remain on his present bond.

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lt is so ORDERED, this the z day of June, 2005.

     

H ORABLE ERNICE B. DONALD
ITED STATES DISTRICT COURT JUD

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COURT - WESTERN

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:05-CR-20104 Was distributed by faX, mail, or direct printing on
June 7, 2005 to the parties listed.

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

